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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                     )
In re:                               )
                                     )                                     Chapter 11
HIGHLAND CAPITAL MANAGEMENT, L.P., 1 )
                                     )                                     Case No. 19-34054 (SGJ)
            Reorganized Debtor.      )
                                     )
                                     )
HIGHLAND CAPITAL MANAGEMENT, L.P.    )
                                     )
                 Plaintiff,          )
vs.                                  )                                     Adv. Pro. No. 21-03003 (SGJ)
                                     )
JAMES D. DONDERO, NANCY DONDERO, AND )
THE DUGABOY INVESTMENT TRUST,        )
                                     )
                 Defendants.         )
                                     )

                                      CERTIFICATE OF SERVICE

      I, Aljaira Duarte, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the above-captioned
case.

        On September 28, 2021, at my direction and under my supervision, employees of KCC
caused the following documents to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

     •   Highland’s Opposition to Motion to Dismiss Fifth, Sixth, and Seventh Claims for
         Relief [Docket No. 90]

     •   Highland’s Memorandum of Law in Support of Opposition to Motion to Dismiss
         Fifth, Sixth, and Seventh Claims for Relief [Docket No. 91]

     •   Debtor’s Objection to Motion to Compel Arbitration and Stay Litigation [Docket
         No. 92]



1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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   •   Debtor’s Brief in Support of its Objection to Motion to Compel Arbitration and
       Stay Litigation [Docket No. 93]

   •   Declaration of John A. Morris in Support of Debtor’s Objection to Motion to
       Compel Arbitration and Stay Litigation [Docket No. 94]


Dated: October 5, 2021
                                         /s/ Aljaira Duarte
                                         Aljaira Duarte
                                         KCC
                                         222 N Pacific Coast Highway, Suite 300
                                         El Segundo, CA 90245




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                             EXHIBIT A
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                                                                     Exhibit A
                                                               Adversary Service List
                                                              Served via Electronic Mail


            Description                      CreditorName                     CreditorNoticeName                              Email
                                                                                                             john@bondsellis.com;
                                                                                                             john.wilson@bondsellis.com;
                                                                     John Y. Bonds, III, John T. Wilson, IV, bryan.assink@bondsellis.com;
                                     Bonds Ellis Eppich Schafer      Bryan C. Assink, Clay M. Taylor,        clay.taylor@bondsellis.com;
Counsel for James Dondero            Jones LLP                       William R. Howell, Jr.                  william.howell@bondsellis.com
Financial Advisor to Official                                                                                Earnestiena.Cheng@fticonsulting.com;
Committee of Unsecured Creditors     FTI Consulting                  Earnestiena Cheng, Daniel H O'Brien Daniel.H.O'Brien@fticonsulting.com

Counsel for Nancy Dondero            Greenberg Traurig, LLP          Daniel P. Elms                          elmsd@gtlaw.com
                                                                     Melissa S. Hayward, Zachery Z.          MHayward@HaywardFirm.com;
Counsel for the Debtor               Hayward & Associates PLLC       Annable                                 ZAnnable@HaywardFirm.com
                                                                                                             ddraper@hellerdraper.com;
Counsel for the Dugaboy Investment                                   Douglas S. Draper, Leslie A. Collins,   lcollins@hellerdraper.com;
Trust and Get Good Trust             Heller, Draper & Horn, L.L.C.   Greta M. Brouphy                        gbrouphy@hellerdraper.com
Counsel for UBS Securities LLC and                                                                           andrew.clubok@lw.com;
UBS AG London Branch                 Latham & Watkins LLP            Andrew Clubok, Sarah Tomkowiak          sarah.tomkowiak@lw.com
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UBS AG London Branch                 Latham & Watkins LLP            Asif Attarwala, Kathryn K. George       Kathryn.George@lw.com
Counsel for UBS Securities LLC and                                                                           jeff.bjork@lw.com;
UBS AG London Branch                 Latham & Watkins LLP            Jeffrey E. Bjork, Kimberly A. Posin     kim.posin@lw.com
Counsel for UBS Securities LLC and                                                                           Zachary.Proulx@lw.com;
UBS AG London Branch                 Latham & Watkins LLP            Zachary F. Proulx, Jamie Wine           Jamie.Wine@lw.com
                                                                                                             mclemente@sidley.com;
                                                                     Matthew Clemente, Alyssa Russell,       alyssa.russell@sidley.com;
Counsel for Official Committee of                                    Elliot A. Bromagen, Dennis M.           ebromagen@sidley.com;
Unsecured Creditors                  Sidley Austin LLP               Twomey                                  dtwomey@sidley.com
                                                                                                             preid@sidley.com;
                                                                     Penny P. Reid, Paige Holden             pmontgomery@sidley.com;
Counsel for Official Committee of                                    Montgomery, Juliana Hoffman,            jhoffman@sidley.com;
Unsecured Creditors                  Sidley Austin LLP               Chandler M. Rognes                      crognes@sidley.com
Counsel for Defendants James                                         Deborah Deitsch-Perez, Michael P.       deborah.deitschperez@stinson.com;
Dondero and Nancy Dondero            Stinson LLP                     Aigen                                   michael.aigen@stinson.com




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                             EXHIBIT B
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                                                                               Exhibit B
                                                                         Adversary Service List
                                                                       Served via First Class Mail

              Description                     CreditorName                      CreditorNoticeName                    Address1               City     State    Zip
                                                                        John Y. Bonds, III, John T. Wilson,
                                       Bonds Ellis Eppich Schafer       IV, Bryan C. Assink, Clay M. Taylor, 420 Throckmorton Street,
  Counsel for James Dondero            Jones LLP                        William R. Howell, Jr.               Suite 1000                  Fort Worth   TX      76102
                                                                                                             2200 Ross Avenue, Suite
  Counsel for Nancy Dondero            Greenberg Traurig, LLP           Daniel P. Elms                       5200                        Dallas       TX      75201
  Counsel for the Dugaboy Investment                                    Douglas S. Draper, Leslie A.         650 Poydras Street, Suite
  Trust and Get Good Trust             Heller, Draper & Horn, L.L.C.    Collins, Greta M. Brouphy            2500                        New Orleans LA       70130
  Counsel for UBS Securities LLC and                                                                         555 Eleventh Street, NW,
  UBS AG London Branch                 Latham & Watkins LLP             Andrew Clubok, Sarah Tomkowiak Suite 1000                        Washington   DC      20004
  Counsel for UBS Securities LLC and                                                                         330 North Wabash Avenue,
  UBS AG London Branch                 Latham & Watkins LLP             Asif Attarwala, Kathryn K. George Ste. 2800                      Chicago      IL      60611
  Counsel for UBS Securities LLC and
  UBS AG London Branch                 Latham & Watkins LLP             Jeffrey E. Bjork, Kimberly A. Posin
                                                                                                          355 S. Grand Ave., Ste. 100 Los Angeles CA          90071
  Counsel for UBS Securities LLC and                                                                      1271 Avenue of the
  UBS AG London Branch                 Latham & Watkins LLP             Zachary F. Proulx, Jamie Wine     Americas                    New York    NY          10020
  Counsel for Defendants James                                          Deborah Deitsch-Perez, Michael P. 3102 Oak Lawn Avenue,
  Dondero and Nancy Dondero            Stinson LLP                      Aigen                             Suite 777                   Dallas      TX          75219




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